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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
JASON LEOPOLD,                            )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )
                                          )                   Case No. 15-cv-02117 RDM
U.S. DEPARTMENT OF JUSTICE                )
                                          )
                  Defendant.              )
__________________________________________)

                                   STATUS REPORT

       Pursuant to this Court’s Order of October 3, 2016, Defendant respectfully submits

the following status report, based on information provided to it by non-party the

Department of State (“State”).

       The Court ordered that, by August 1, 2018, State aspire to review at least 1,850

pages of documents from the records provided to it by the Federal Bureau of

Investigation, and for each document reviewed to: (1) determine that it is not responsive

to the request at issue in this case; (2) refer the document to another agency for

consultation; or (3) produce the document, with appropriate redactions, to Plaintiff. See

ECF No. 26, Oct. 3, 2016 Order, at 1-2.

       State exceeded the goal set forth in the Order. By August 1, 2018, State had

processed 2,384 pages of documents from the materials provided to it by the FBI. On the

same date, State posted to its publicly accessible FOIA “reading room” website 91




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documents comprising 102 pages.1 The remaining 2,282 of the 2,384 pages processed

were determined to be duplicative of information previously released, and thus are not

responsive to Plaintiff’s FOIA request.

Dated: August 8, 2018                       Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General

                                            MARCIA BERMAN
                                            Assistant Branch Director

                                            /s/ Jennie L. Kneedler
                                            JENNIE L. KNEEDLER
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                                            Attorneys for Defendant




1
  When the documents were initially posted to the State Department’s online reading
room, the subjects and other header information for each document was available, but a
technical error occurred causing viewers to receive an error message when attempting to
view the individual documents. This problem was corrected by the following morning.



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